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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


 ELIZABETH A. SPALSBURY,

        Plaintiff,
                                                    Case No. 1:23-cv-1210
 v.
                                                    Hon. Hala Y. Jarbou
 EXPERIAN INFORMATION
 SOLUTIONS, INC., et al.,

       Defendants.
 ____________________________/

                                   ORDER OF DISMISSAL

        The Court having reviewed the parties’ stipulation for dismissal (ECF No. 23),

        IT IS ORDERED that the parties’ stipulation for dismissal (ECF No. 23) is GRANTED;

 this action is DISMISSED with prejudice and with no costs to be assessed to either party.



 Dated: March 4, 2024                             /s/ Hala Y. Jarbou
                                                  HALA Y. JARBOU
                                                  CHIEF UNITED STATES DISTRICT JUDGE
